This action was brought by the city against the plaintiff in error for taxes alleged to be due upon property for the years 1888, 1889, 1891, and for the years from 1893 to 1898, inclusive, and to enforce a lien upon the property to secure their payment. The defensive pleadings were, (1) a general demurrer (never acted upon), (2) a general denial, and (3) a plea of the statute of limitations of four years. Judgment was rendered by the District Court establishing and foreclosing a lien in favor of the city upon the property for the taxes sued for but denying a personal judgment against defendants. Upon appeal to the Court of Civil Appeals, the only ground relied on to reverse this judgment was that the taxes were barred by four years limitation, prescribed by the amendment to the charter of Houston of May 26, 1899, and that court determined such contention in favor of the city and affirmed the judgment.
Upon application for writ of error, this court was of opinion, which *Page 383 
it still holds, that the Court of Civil Appeals had properly disposed of this point, but thought that for another reason there was error in the affirmance of the judgment. Some of the taxes sued for accrued during years when the provisions of the charter of 1889 and the amendment thereof of 1893 were in force, and by their provisions the city was required to sell property charged with taxes in accordance with ordinances to be passed regulating such sales, and one year was given to the owner to redeem property sold, within which the city or any other person who had purchased at the sale might sue for the taxes and penalties. The petition alleged that regular sales had been made of the property during the years while these provisions were in force, and that the city had purchased the property and no suits had been brought under these provisions. The question which occurred to us was whether, under these provisions, the city's right to the taxes for these years had not, by the sales, alleged to have been regular and lawful, been extinguished, not by limitation but by satisfaction. But the question thus suggested is not presented by the application for writ of error, which relies solely on the ground of limitation and in no way claims that the right of the city to its taxes was ever satisfied. It may be that had its attention been called to the point, the Court of Civil Appeals might have considered it as involving an error apparent of record (Batts' Civil Statutes, article 1014), but there is no such provision with reference to this court, its action being confined to the grounds set up in the application for writ of error. Batts' Stats., arts. 942, 967.
The judgment must therefore be affirmed without a decision of the point suggested, upon which no opinion is intimated.
Affirmed.